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    14
                                    UNITED STATES DISTRICT COURT
    15
                                  CENTRAL DISTRICT OF CALIFORNIA
    16
                                              WESTERN DIVISION
    17
    18   CARL ZEISS AG and ASML                       Case No. 2:17-cv-07083 RGK (MRWx)
         NETHERLANDS, B.V.,
    19                                                DEFENDANTS NIKON
                                Plaintiffs,           CORPORATION AND NIKON
    20                                                INC.’S OBJECTIONS TO
                v.                                    PLAINTIFFS’ DEMONSTRATIVE
    21                                                EXHIBITS FOR TRIAL DAY 1
    22   NIKON CORPORATION, SENDAI                    Trial Date: November 6, 2018
         NIKON CORPORATION, and                       Time:       9:00 a.m.
    23   NIKON INC.,                                  Courtroom: 850, 8th Floor
    24                          Defendants.           Hon. R. Gary Klausner
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    28
         Case No. 2:17-cv-07083 RGK (MRWx)
         NIKON’S OBJS. TO PLTFFS’ DAY 1 DISCOLSURES
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     1   I.     INTRODUCTION
     2          Plaintiffs have included misleading, prejudicial, and other objectionable
     3   content in the demonstrative exhibits and late-disclosed trial exhibits that they
     4   intend to present to the jury during their opening statement and with the witnesses
     5   they will call during the first day of trial. The Court should exclude such improper
     6   and prejudicial demonstrative and trial exhibits.
     7   II.    ARGUMENT
     8          A.      Plaintiffs Should Be Precluded From Discussing Or Introducing
                        Evidence Relating to Their Undisclosed ZX1 Camera (PDX-0001,
     9                  -103, -159 - 159, -272; JTX-2160, -2193)
    10          Nikon objects to the introduction into evidence of Plaintiffs’ “new” ZX1
    11   camera, which is referenced in both Plaintiffs’ opening and expert demonstrative
    12   slides as well as many late-disclosed exhibits. As explained in Nikon’s Motion in
    13   Limine No. 11 (which is still pending before the Court), Plaintiffs failed to disclose
    14   the new ZX1 camera until after the close of both fact and expert discovery, making
    15   it available for inspection just weeks before trial. This last-minute disclosure is
    16   highly prejudicial to Nikon, depriving it of the ability to question Plaintiffs’ fact
    17   and expert witnesses about the camera, discovery into what features it allegedly
    18   possesses (or does not possess), and the opportunity to provide responsive
    19   discovery. The Court properly excluded Plaintiffs’ prototype camera in the last trial
    20   for a similar failure to disclose, and should reach the same result here.
    21          Plaintiffs have attempted to intentionally sandbag Nikon (again) by
    22   disclosing the ZX1 camera only after the close of discovery and the parties’
    23   motions in limine were due. As a matter of fairness, the Federal Rules of Civil
    24   Procedure were designed to allow both parties to discover the other side’s facts and
    25   theories in an orderly fashion as the case progresses from fact discovery to expert
    26   discovery to trial. Accordingly, trial by ambush is antithetical to the Federal Rules.
    27   Yanikian v. Allstate Insurance Company, No. CV 16–03030– BRO (PJWx2017 WL
    28   2999035, at *3 (C.D. Cal. June 7, 2017). Undeterred, Plaintiffs continue to rely on
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                                                      1
         REPLY MEM. OF P. & A. ISO MOT. FOR RECONS.
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     1   trial by ambush, despite being precluded from relying on a late-disclosed prototype
     2   camera in the last trial.
     3          B.     Plaintiffs Should Be Precluded From Representing to the Jury
                       That Certain Claim Elements Are Undisputed (PDX-244, 246, 248,
     4                 250, 259)
     5           Plaintiffs’ expert Dr. Subramanian plans to use the following opening slides
     6   regarding alleged infringement of the image sensor patents:
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    15   (E.g., PDX-250.) This slide (and others like it) invites legal error as it is Plaintiffs’
    16   burden to prove infringement of each and every claim limitation. It is well-
    17   established that the plaintiff in a patent case bears the burden of proving
    18   infringement by a preponderance of the evidence. Mannesman Demag Corp. v.
    19   Engineered Metal Product Co. Inc., 793 F.2d 1279, 1280 (Fed. Cir. 1986).
    20   “[L]iteral infringement requires that the accused device embody every element of
    21   the patent claim.” Id. (emphasis added).
    22          Here, Nikon has never stipulated or agreed that any claim limitations are
    23   “undisputed.” Accordingly, it is Plaintiffs’ burden to show evidence that each of
    24   the 100+ Nikon accused cameras meets each and every claim limitation of each
    25   asserted claim. See, e.g., Frolow v. Wilson Sporting Goods Co., No. CIV.A. 05-
    26   04813, 2011 WL 2784093, at *3 (D.N.J. July 12, 2011), aff’d, 710 F.3d 1303 (Fed.
    27   Cir. 2013) (affirming grant of JMOL and explaining that “although the parties did
    28   stipulate to certain facts relevant to issues for trial, the parties did not stipulate to
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     1   any facts concerning the head, handle, grip or strings in the accused tennis racquets.
     2   Further, none of the documents admitted as evidence during trial contain any
     3   admissions regarding the head, handle, grip or strings in the accused tennis
     4   racquets. Thus, the Court finds nothing in the record to establish the requisite
     5   elements of claims 20, 47 and 50 of the 372 Patent.”).
     6          C.     Nikon Seeks Clarity Regarding the Court’s Ruling Regarding
                       IPRs
     7
                Defendants seek clarity as to the admissibility of IPRs, which both parties
     8
         agree should be allowed into evidence for certain purposes. Defendants contend
     9
         that the ‘335 and ‘163 IPRs are directly relevant to damages (including willfulness)
    10
         as the IPR institution supports a finding of objective reasonableness of invalidity.
    11
         Halo Electronics, Inc. v. Pulse Electronics, Inc., 136 S.Ct. 1923, 1926 (2016). The
    12
         court has already ruled that the IPRs would be relevant for this purpose. (Pretrial
    13
         Conf Tr. at 5:18-24). Plaintiffs intend to use the ‘574 IPR in their opening to talk
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         about written description issues, as seen below.
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     1           Notably, the PTO does not institute IPRs on the basis of written description
     2   issues thus any reference to the ‘574 would be prejudicial and misleading.
     3          Defendants seek a ruling consistent with the court’s carve out for MIL 2 that
     4   the IPRs are admissible for the limited purpose of damages (including willfulness).
     5   As this is relevant damages, it is thus subject to the court’s carve out regarding
     6   damages. If the court, however, is inclined to ban IPRs as prejudicial, this ruling
     7   should apply equally to plaintiffs, and they should not be able to discuss the 574
     8   IPR in their opening or at any time during the trial.
     9          D.     Plaintiffs Should Be Precluded From Referencing Nikon Corp.’s
                       Freedom-to-Operate Search (PDX-146, -148 – 159)
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                Plaintiffs make repeated reference to Nikon Corp.’s “Freedom to Operate”
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         Search, as seen below.
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                Plaintiffs clearly attempt to use this information in order to mislead the jury
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         about marking and the notice Nikon received. This information is not relevant to
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         marking under 35 U.S.C. § 287, which requires knowledge of infringement, not
    26
         just knowledge of the patents. Cybiotronics, Ltd. v. Golden Source Elecs. Ltd., 130
    27
         F. Supp. 2d 1152, 1159 (C.D. Cal. 2001) (“[D]amages are available only from a
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     1   point in time at which an alleged infringer is on notice of the patent and of the
     2   allegedly infringing activity.” (emphasis added). To satisfy § 287’s notice
     3   requirement, Plaintiffs must have provided “the affirmative communication of a
     4   specific charge of infringement by a specific accused product or device.” Amsted
     5   Indus. Inc. v. Buckeye Steel Castings Co., 24 F.3d 178, 187 (Fed. Cir. 1994).
     6   III.   CONCLUSION
     7          For the above reasons, Nikon requests that the Court preclude Plaintiffs from
     8   offering argument, testimony, or evidence, including demonstrative evidence,
     9   regarding the following:
    10               Plaintiffs’ late-disclosed ZX1 camera;
    11               Any claim elements that Plaintiffs inaccurately claim are
    12                 “undisputed”; and
    13               Nikon Corp.’s Freedom to Operate search.
    14          Nikon also seeks a ruling clarifying the Court’s ruling on its carve out
    15   regarding IPR decisions.
    16
    17
    18   Dated: November 5, 2018                 Respectfully submitted,
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    20                                           MORRISON & FOERSTER LLP
    21
    22                                           By: /s/ Vincent J. Belusko
                                                     Vincent J. Belusko
    23
                                                 Attorneys for Defendants
    24                                           NIKON CORPORATION
                                                 AND NIKON INC.
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